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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW HAMPSHIRE

                               )
ROBERT W. CLOUGH, II., individually
                               )
and on behalf of all persons and entities        Case No. 1:17-cv-00411-PB
similarly situated,            )
                               )
                               )
          Plaintiff,           )
                               )
     v.                        )
                               )
REVENUE FRONTIER, LLC, SUPREME )
DATA CONNECTIONS, LLC and      )
WILLIAM ADOMANIS,              )
                               )
          Defendants.          )


            DECLARATION OF ERIC NORDSKOG RE: NOTICE PROCEDURES

I, Eric Nordskog, declare as follows:

       1.      I am a Project Manager of A.B. Data, Ltd.’s Class Action Administration Company

(“A.B. Data”), whose Corporate Office is located in Milwaukee, Wisconsin. A.B. Data was

appointed as the Settlement Administrator in this matter and is not a party to this action. I have

personal knowledge of the facts set forth herein and, if called as a witness, could and would testify

competently thereto.

                                        CAFA Notification

       2.      In compliance with the Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1715,

A.B. Data compiled a CD-ROM containing the following documents: Class Action Complaint,

First Amended Class Action Complaint, Second Amended Class Action Complaint, Revised

Second Amended Class Action Complaint, Class Action Settlement Agreement and Release,

Claim Form, Proposed Final Approval Order, Proposed Final Judgment Order, Mail Notice, Long

Form Notice, Proposed Preliminary Approval Order, Approximate Class Breakdown by State, and

a cover letter (collectively, the “CAFA Notice Packet”). A copy of the cover letter is attached

hereto as Exhibit A.




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       3.        On March 9, 2020, A.B. Data caused sixty-one (61) CAFA Notice Packets to be

mailed via Priority Mail from the U.S. Post Office in Milwaukee, Wisconsin to the persons listed

in Exhibit B, i.e., the U.S. Attorney General, the Attorneys General of each of the 50 States and

the District of Columbia, and the Attorneys General of the U.S. Territories.

                                              Class List

       4.        On or around March 2, 2020, A.B. Data received an electronic data file from

Defendant’s Counsel containing 18,938 lines of non-deduped data, which included phone numbers

of potential Settlement Class Members (the “Class List”).

       5.        A.B. Data facilitated, through a third-party information provider, reverse directory

searches of the 18,938 telephone numbers on the Class List, which provided names and addresses

for 16,977 records. A.B. Data then created a list of the 16,977 unique names and mailing addresses

of Class Members (the “Mailing List”).

       6.        A.B. Data then processed the Mailing List through the United States Postal

Service’s (USPS) National Change of Address Database (“NCOA”) to standardize the format of

the addresses and to update the mailing addresses with any moves registered with the USPS.

                                           Mailed Notice

       7.        On May 11, 2020, A.B. Data caused the Court-approved mailed Settlement Notice

(“Mail Notice”) to be printed and mailed to the 16,977 names and mailing addresses on the Mailing

List. A true and correct copy of the Mail Notice is attached hereto as Exhibit C.

       8.        Since sending the Mail Notices to the Settlement Class Members, A.B. Data has

received 2,161 Mail Notices returned by the USPS with undeliverable addresses. Through credit-

bureau and/or other public-source databases, A.B. Data performed address searches for these

undeliverable Mail Notices and was able to find updated addresses for 1,076 Settlement Class

Members. Following the remailing of Mail Notices, 161 were returned once again as

undeliverable.

       9.        Altogether, individual notice was successfully sent to 15,731 Settlement Class

Members (in excess of 83%) without a returned notice being received. There are 3,207 Settlement

Class Members (less than 17%) for whom new mailing addresses have not been found.


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                                           Case Website

       10.     On or around May 11, 2020, A.B. Data established a website, www.

TaxDebtTextTcpa.com, dedicated to this matter to provide information to the Settlement Class

Members and to answer frequently asked questions. The website URL was set forth in the Mail

Notice and Claim Form. Visitors to the website could submit claims online and download copies

of the Long Form Notice, the Claim Form, and other case-related documents.

                                  Toll-Free Telephone Number

       11.     On or around May 11, 2020, A.B. Data established a toll-free telephone number

dedicated to answering telephone inquiries from Settlement Class Members. To date, A.B. Data

has received and/or returned a total of 229 calls.

                                           Claim Forms

       12.     Claim Forms were only required to be submitted by Settlement Class Members

whose names were not on the Class List and thus were not mailed a Notice. The deadline for

Settlement Class Members to submit a Claim Form was August 10, 2020. To date, A.B. Data has

received a total of 33 claims. These 33 Claim Forms submitted are not eligible for a Cash Award,

as 6 of the claims were unnecessarily submitted by Settlement Class Members on the Class List

who were successfully mailed a Notice, and the other 27 claims did not include a phone number

that matched a phone number on the Class List.

                               Requests for Exclusion from Class

       13.     The deadline for Settlement Class Members to request to be excluded from the

Class was August 10, 2020. To date, A.B. Data has not received any requests for exclusion.

                                  Objections to the Settlement

       14.     The deadline for Settlement Class Members to object to the Settlement was August

10, 2020. To date, A.B. Data has not received any objections to the Settlement.

                                        Fund Distribution

       15.     A.B Data has preliminarily calculated the payment amount for each eligible

Settlement Class Member. These calculations are based on the assumptions that the gross

Settlement amount is $2,100,000.00 and from that amount, deductions are made for (a) attorneys’


                                                     3
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            EXHIBIT A
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March 9, 2020

via USPS Priority Mail


Re:      Robert W. Clough, II., et al. v. Revenue Frontier, LLC, et al., No. 1:17-cv-00411-PB
         (D. N.H.)
         28 U.S.C. § 1715(b) Notification

Dear Sir or Madam:
Settlement Administrator A.B. Data, Ltd., on behalf of the Defendant in the above-referenced
action (the “Action”), provides the notice as specified in the Class Action Fairness Act of
2005, 28 U.S.C. § 1715(b).
The Action is pending before U.S. District Court Judge Paul Barbadoro in the United States
District Court for the District of New Hampshire. On February 28, 2020, counsel for the
Plaintiff filed a motion for preliminary approval of a Class Action Settlement Agreement (the
“Settlement Agreement”). The Court has not yet preliminarily approved the Settlement
Agreement or set a hearing date for final approval of the Settlement Agreement.
Please find enclosed a CD containing certain documents and information in “.pdf” format, as
required by the Class Action Fairness Act. These include the following enclosures:
      1. The Class Action Complaint, filed on September 13, 2017;
      2. The First Amended Class Action Complaint, filed on December 1, 2017;
      3. The Second Amended Class Action Complaint, filed on December 27, 2018;
      4. The Revised Second Amended Class Action Complaint, filed on January 9, 2019;
      5. The Settlement Agreement, executed on February 28, 2020;
      6. The Claim Form, Exhibit 1 of the Settlement Agreement;
      7. The (Proposed) Final Approval Order, Exhibit 2 of the Settlement Agreement;
      8. The (Proposed) Final Judgment Order, Exhibit 3 of the Settlement Agreement;
      9. The Postcard Notice, Exhibit 4 of the Settlement Agreement;
      10. The (Proposed) Preliminary Approval Order, Exhibit 5 of the Settlement Agreement;
      11. The Long Form Notice, Exhibit 6 of the Settlement Agreement; and
Also included on the CD is a list containing the estimated number of class members residing
in each state and the estimated proportionate share of the claims by state to the entire
Settlement.
There are no contemporaneous agreements between Class Counsel and Defendant’s Counsel
in conjunction with the proposed Settlement other than the enclosed Settlement Agreement.
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CONFIDENTIAL                                                                           PAGE 2


At this time, there has been no final judgment or notice of dismissal, and there are no written
judicial opinions relating to the Settlement Agreement.
The foregoing information is provided based upon what is currently available to date and the
status of the proceedings at the time of the submission of this notice.
Sincerely,

A.B. Data, Ltd.
Settlement Administrator on behalf of Defendant
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            EXHIBIT B
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                            Office                                 Name                            Street Address 1                     Street Address 2                         City       State            Zip
United States Attorney General                        William Barr               US Department of Justice                      950 Pennsylvania Ave, NW              Washington         DC             20530-0001
Office of the Alabama Attorney General                Steve Marchall             501 Washington Avenue                                                               Montgomery         AL             36130
Office of the Alaska Attorney General                 Kevin Clarkson             PO Box 110300                                 Diamond Courthouse                    Juneau             AK             99811-0300
Office of the American Samoa Attorney General         Talauega Eleasalo V. Ale   American Samoa Gov't, Exec. Ofc. Bldg         Utulei, Territory of American Samoa   Pago Pago          AS             96799
Office of the Arizona Attorney General                Mark Brnovich              2005 N CENTRAL AVE                                                                  Phoenix            AZ             85004-1592
Office of the Arkansas Attorney General               Leslie Rutledge            323 Center St.                                Ste. 200                              Little Rock        AR             72201-2610
Office of the California Attorney General             Xavier Becerra             1300 I St.                                    Ste. 1740                             Sacramento         CA             95814
Office of the Colorado Attorney General               Phil Weiser                Ralph Carr Colorado Judicial Center           1300 Broadway, 10th Floor             Denver             CO             80203
Office of the Connecticut Attorney General            William Tong               55 Elm St.                                                                          Hartford           CT             06141-0120
Office of the Delaware Attorney General               Kathy Jennings             Carvel State Office Bldg.                     820 N. French St.                     Wilmington         DE             19801
Office of the District of Columbia Attorney General   Karl A. Racine             441 4th Street, NW                            Ste. 1100S                            Washington         DC             20001
Office of the Florida Attorney General                Ashley Moody               The Capitol                                   PL 01                                 Tallahassee        FL             32399-1050
Office of the Georgia Attorney General                Chris Carr                 40 Capitol Square, SW                                                               Atlanta            GA             30334-1300
Office of the Guam Attorney General                   Leevin T. Camacho          ITC Building                                  590 S Marine Corps Dr, Ste. 706       Tamuning           Guam           96913
Office of the Hawaii Attorney General                 Clare E. Connors           425 Queen St                                                                        Honolulu           HI             96813
Office of the Idaho Attorney General                  Lawrence Wasden            Statehouse                                                                          Boise              ID             83720-1000
Office of the Illinois Attorney General               Kwame Raoul                James R. Thompson Ctr.                        100 W. Randolph St.                   Chicago            IL             60601
Office of the Indiana Attorney General                Curtis T. Hill, Jr.        Indiana Government Center South - 5th Floor   302 W. Washington St.                 Indianapolis       IN             46204
Office of the Iowa Attorney General                   Tom Miller                 Hoover State Office Bldg.                     1305 E. Walnut                        Des Moines         IA             50319
Office of the Kansas Attorney General                 Derek Schmidt              120 S.W. 10th Ave                             2nd Fl                                Topeka             KS             66612-1597
Office of the Kentucky Attorney General               Andy Beshear               700 Capitol Avenue                            Capitol Building, Ste. 118            Frankfort          KY             40601
Office of the Louisiana Attorney General              Jeff Landry                PO Box 94095                                                                        Baton Rouge        LA             70804-4095
Office of the Maine Attorney General                  Aaron Frey                 State House Station 6                                                               Augusta            ME             04333
Office of the Maryland Attorney General               Brian Frosh                200 St. Paul Place                                                                  Baltimore          MD             21202-2202
Office of the Massachusetts Attorney General          Maura Healey               1 Ashburton Place                                                                   Boston             MA             02108-1698
Office of the Michigan Attorney General               Dana Nessel                PO Box 30212                                  525 W Ottawa St.                      Lansing            MI             48909-0212
Office of the Minnesota Attorney General              Keith Ellison              State Capitol                                 Ste. 102                              St. Paul           MN             55155
Office of the Mississippi Attorney General            Jim Hood                   Department of Justice                         PO Box 220                            Jackson            MS             39205
Office of the Missouri Attorney General               Eric Schmitt               Supreme Ct. Bldg                              207 W. High St.                       Jefferson City     MO             65101
Office of the Montana Attorney General                Tim Fox                    Justice Bldg.                                 215 N. Sanders                        Helena             MT             59620-1401
Office of the Nebraska Attorney General               Doug Peterson              State Capitol                                 PO Box 98920                          Lincoln            NE             68509-8920
Office of the Nevada Attorney General                 Aaron Ford                 Old Supreme Ct. Bldg.                         100 N. Carson St                      Carson City        NV             89701
Office of the New Hampshire Attorney General          Gordon MacDonald           33 Capitol St                                                                       Concord            NH             03301-6397
Office of the New Jersey Attorney General             Gurbir S. Grewal           Richard J. Hughes Justice Complex             25 Market St.                         Trenton            NJ             08625
Office of the New Mexico Attorney General             Hector Balderas            PO Drawer 1508                                                                      Santa Fe           NM             87504-1508
Office of the New York Attorney General               Letitia A. James           Dept. of Law - The Capitol                    2nd fl.                               Albany             NY             12224
Office of the North Carolina Attorney General         Josh Stein                 Dept. of Justice                              PO Box 629                            Raleigh            NC             27602-0629
Office of the North Dakota Attorney General           Wayne Stenehjem            State Capitol                                 600 E. Boulevard Ave.                 Bismark            ND             58505
Office of the Northern Mariana Islands (Acting)
Attorney General                                      Edward Manibusan           Administration Building                       PO Box 10007                       Saipan                MP             96950
Office of the Ohio Attorney General                   Dave Yost                  State Office Tower                            30 E. Broad St.                    Columbus              OH             43266-0410
Office of the Oklahoma Attorney General               Mike Hunter                313 NE 21st Street                                                               Oklahoma City         OK             73105
Office of the Oregon Attorney General                 Ellen F. Rosenblum         Justice Bldg                                  1162 Court St.                     Salem                 OR             97301
Office of the Pennsylvania Attorney General           Josh Shapiro               1600 Strawberry Square                                                           Harrisburg            PA             17120
Office of the Puerto Rico Attorney General            Dennise Longo Quinones     PO Box 902192                                                                    San Juan              PR             00902-0192
Office of the Rhode Island Attorney General           Peter Neronha              150 S. Main St.                                                                  Providence            RI             02903
Office of the South Carolina Attorney General         Alan Wilson                Rembert C. Dennis Office Bldg                 PO Box 11549                       Columbia              SC             29211-1549
Office of the South Dakota Attorney General           Jason Ravnsborg            1302 East Highway 14                          Suite 1                            Pierre                SD             57501-8501
Office of the Tennessee Attorney General              Herbert H. Slatery III     425 5th Ave. North                                                               Nashville             TN             37243
Office of the Texas Attorney General                  Ken Paxton                 Capitol Station                               PO Box 12548                       Austin                TX             78711-2548
Office of the Utah Attorney General                   Sean Reyes                 350 North State Street                        Suite 230                          Salt Lake City        UT             84114
Office of the Vermont Attorney General                TJ Donovan                 109 State St.                                                                    Montpelier            VT             05609-1001
Office of the Virgin Islands Attorney General         Denise George-Counts       Dept. of Justice                              G.E.R.S. Complex 488-50C Kronprinsdens
                                                                                                                                                                  St. Thomas
                                                                                                                                                                      Gade              VI             00802
Office of the Virginia Attorney General               Mark Herring               900 East Main Street                                                             Richmond              VA             23219
Office of the Washington Attorney General             Bob Ferguson               1125 Washington Street SE                     PO Box 40100                       Olympia               WA             98504-0100
Office of the West Virginia Attorney General          Patrick Morrisey           State Capitol                                 1900 Kanawha Blvd. E               Charleston            WV             25305
Office of the Wisconsin Attorney General              Josh Kaul                  State Capitol, Rm 114 East                    PO Box 7857                        Madison               WI             53707-7857
Office of the Wyoming Attorney General                Bridget Hill               State Capitol Bldg.                                                              Cheyenne              WY             82002
Yap State Office of the Attorney General              Jonathan M. Tun            PO Box 435                                                                       Colonia               Yap, FSM       96943
Office of the Chuuk Attorney General                  Sabino Asor                PO Box 1050                                                                      Weno                  Chuuck, FM     96942
Office of the Kosrae Attorney General                 Jeffrey S. Tilfas          PO Box 870                                                                       Tofol                 Kosrae, FSM    96944
Office of the Pohnpei Attorney General                Dana Wesley Smith          PO Box PS-105                                                                                          Pohnpie, FSM   96941
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             EXHIBIT C
                                  Tax Relief Text TCPA Settlement
 Case 1:17-cv-00411-PB Document 129-1    Filed
                                  Settlement      08/19/20 Page First-Class
                                             Administrator        11 of 12
                     LEGAL NOTICE                                 c/o A.B. Data, Ltd.                         Mail
                                                                  P.O. Box 173026                          US Postage
  Robert W. Clough, II v. Revenue Frontier, LLC, et al.,                                                      Paid
                                                                  Milwaukee, WI 53217
            No. 1:17-cv-00411-PB (D. NH)
                                                                                                           Permit #__

A class action settlement has been proposed in this lawsuit
pending in the U.S. District Court for the District of New
Hampshire (“Court”).

This case claims that Supreme Data Connections, LLC and
its principal, William Adomanis, violated the Telephone              [NoticeID Barcode]
Consumer Protection Act by causing text messages to be               Postal Service: Please do not mark barcode
sent to cell phones advertising tax relief services using an
automatic telephone dialing system, and that Revenue                 NoticeID ########
Frontier is vicariously liable for the calls. Defendants deny        «First1» «Last1»
they did anything wrong.                                             «CO»
Who Is Included? If you received this notice, records in the
                                                                     «Addr2»
case indicate that you are a member of the Settlement Class,         «Addr1»
which includes: “(1) All persons in the United States who            «City», «St» «Zip»
are the users or subscribers of the approximately 18,937             «Country»
cellular telephones identified in Anya Verkhovskaya’s
report, [the expert witness retained by plaintiff] (2) to which
cellular telephone numbers a text message was sent (3) using
the SDC Messaging Application, employing the Sendroid
software (4) within four years of the filing of the complaint.”
    Please do not call the Judge or the Clerk of the Court.
        They cannot give you advice on your options.


             PLEASE READ THIS NOTICE
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Summary of the Settlement: Revenue Frontier and W4, LLC have agreed to establish a Settlement Fund of $2,100,000 to pay Class
Members (including certain members who make valid and timely claims); pay any incentive award to the class representative, Mr. Clough;
pay attorneys’ fees and costs; and pay settlement notice and administration costs. The Court has preliminarily approved this Settlement.
Plaintiff will request up to $25,000 as an incentive award, and up to $700,000 in attorneys’ fees, plus costs of $50,894.49. Any remaining
monies from uncashed settlement checks may be redistributed or paid to the National Consumer Law Center or other non-profit organization.
This is a summary notice only; additional details can be found at www.TaxDebtTextTCPA.com or by calling 1-877-829-4146.
Can I Get Money from the Settlement? Yes, if you received this notice by postal mail, you do not need to do anything to receive a pro
rata cash award, the amount of which depends on how many people make approved claims. Class Members who received texts on more
than one cell phone may submit one claim per cell number. Class Counsel estimate that the amount of the cash award may be about $50
to $60. If you did not receive this notice by postal mail, then you need to complete a claim form available at
www.TaxDebtTextTCPA.com so that the class action administrator can determine whether you are eligible to receive a cash payment.
Do I Have a Lawyer? Yes. The Court appointed attorneys with Phillips Law Office, PLLC, Broderick Law, P.C., The Law Office of
Matthew P. McCue, and CW Law Group, P.C. as Class Counsel. The lawyers will be paid from the Settlement Fund. You may enter an
appearance in the case through your own attorney if you so desire.
What Should I Do? Class Members have three options: (1) Do Nothing If you received this notice via mail, you are automatically entitled to
a share of the Settlement Fund and a check will be mailed to you by the Settlement Administrator. If the Settlement is approved, you will not
have the right to sue separately for damages of $500 per text, or $1,500 per text made willfully. (2) Remain a Class Member but object to
the Settlement. Instructions for objecting are available at www.TaxDebtTextTCPA.com. Objections and supporting documents must be sent
to Class Counsel and Defense Counsel and filed with the Court by August 10, 2020. You may pay for and be represented by a lawyer who
may send the objection for you. (3) Exclude yourself from the Settlement Class by mailing a request to the Settlement Administrator (not the
Court). You must state in writing your name, address, the cell number at which Supreme Data or Mr. Adomanis texted you, and that you want
to be excluded from this Settlement. Exclusions must be signed and postmarked no later than August 10, 2020.
Scheduled Hearing: The judge scheduled a hearing for September 9, 2020, at 2:00 p.m., in Courtroom 4 of the U.S. District Court, District
of New Hampshire, 55 Pleasant St., Concord, NH 03301, regarding whether to give final approval to the Settlement, including the amounts of
any attorneys’ fees, costs, and Class Representative award. The hearing may be changed without notice. It is not necessary for you to
appear at this hearing, but you may attend at your own expense.
For more information: Visit: www.TaxDebtTextTCPA.com; Call: 1-877-829-4146; or write to: Tax Relief Text TCPA Settlement,
Settlement Administrator, c/o A.B. Data, Ltd., P.O. Box 173026, Milwaukee, WI 53217.
